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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

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UNITED STATES OF AMERTCA : SEALED
: INDICTMENT
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: 22 Cr,
JAMES VELISSARIS, : ot E>
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Defendant.
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COUNT ONE

(Securities Fraud)
The Grand Jury charges:
Overview

1. From at least in or about 2018 through at least in or
about February 2021, JAMES VELISSARIS, the defendant, engaged in
a scheme to defraud current and potential investors in two funds
(the “Investment Funds”) managed by Infinity Q Capital
Management LLC (“Infinity 0”), an investment adviser majority
owned by VELISSARIS. As part of the scheme, VELISSARIS made
false and misleading statements to investors and others
concerning Infinity 0’s process for valuing certain over-the-
counter (“OTC”) derivative securities that made up a substantial
portion of the holdings of the Investment Funds, and in fact
fraudulently mismarked those securities in ways that did not
reflect their fair value. VELISSARIS committed the mismarking

scheme in order to inflate the value of the Investment Funds as

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reported to investors, to attract and retain capital in the
Investment Funds, and to increase his own compensation.

2. As described in more detail below, JAMES VELLISARIS,
the defendant, through Infinity 0, misled Infinity 9’s current
and potential investors, and Infinity Q's administrator (the
“Administrateor”) and outside auditor (the “Auditor’) that the
valuation of Infinity Q’s OTC derivative securities would be
done using an independent third-party service, without Infinity
QO’s input into the models, and based on the true terms of the
underlying securities.

3. In truth and in fact, JAMES VELISSARIS, the defendant,
had substantial input into the marking of the securities,
including by manipulating the purportedly independent third-
party models that Infinity 9 used for valuation. As part of the
scheme, VELISSARIS altered valuations, including, for example,
by secretly manipulating the computer code used by the third-
party’s valuation software. VELISSARIS’ manipulations caused
the purportedly independent program to value the OTC derivative
securities in ways that were inconsistent with their true terms
in order to fraudulently inflate their value and the value of
the Investment Funds. In some cases, the alterations had the
impact of creating valuations that were not just false but

mathematicaliy impossible.

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4, JAMES VELISSARIS, the defendant, began this scheme at
least as early as 2018. The scheme grew, and VELISSARIS
substantially increased his mismarking in the spring of 2020 as
markets were impacted by the outbreak of the COVID-19 pandemic
and many of Infinity Q’s competitor firms were forced to shut
down. By touting the purported success of Infinity Q during
this time period, VELISSARIS was able to attract substantial
inflows to the Investment Funds, in addition to retaining
investors who were deprived of accurate information, and
therefore the opportunity to redeem their investments, as a
result of VELISSARIS’ scheme to defraud.

5. In order to avoid detection of the scheme by the
Auditor, JAMES VELISSARIS, the defendant, provided the Auditor
with falsified documents regarding the nature of the OTC
derivative securities held by Infinity 0. Of particular note,
on multiple occasions, VELISSARIS altered documents that
counterparties had sent to Infinity Q for OTC derivative
positions so that he could provide the Auditor with fabricated
support for the fraudulently inflated values that he had
assigned to the corresponding securities.

6. In order to further avoid detection, beginning in or
about the summer of 2020, JAMES VELISSARIS, the defendant,
obstructed an inquiry and investigation into Infinity Q by the

United States Securities and Exchange Commission (“SEC”). Among

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other things, in response to SEC requests for original documents
related to valuation, VELISSARIS altered documents that had been
provided to investors before providing them to the SEC.
Furthermore, when the SEC requested meeting minutes of Infinity
Q’s valuation committee, VELISSARIS created such minutes for the
purpose of submitting them to the SEC, even though no such
minutes actually existed.

7. tn or about February 2021, after the mismarking scheme
by JAMES VELISSARIS, the defendant, was uncovered, Infinity
liquidated the Investment Funds and sold their OTC derivative
securities. These positions were sold for hundreds of millions
of dollars less than the purported fair values assigned to them
by Infinity Q, and investors in the Investment Funds sustained
substantial losses.

James Velissaris and Infinity 0

B. At all times relevant to this Indictment, JAMES
VELISSARIS, the defendant, was the chief investment officer and
majority owner of Infinity 0, an investment adviser
headquartered in New York, New York.

9. infinity Q employed a small staff, including an
individual who served as both chief compliance and risk officer
(“CC-1"). Prior to March 2020, Infinity 0 operated out of a
location in Manhattan, New York. After March 2020, in light of

the outbreak of the COVID-19 pandemic, Infinity Q’s employees

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mostly worked remotely from various locations, including within
the Southern District of New York.

10. By in or about February 2021, Infinity Q purported to
manage approximately $3 billion in assets, including a
registered mutual fund which reported approximately $1.7 billion
in assets (the “Mutual Fund”), and a private fund which reported
approximately $1.4 billion in assets (the “Hedge Fund,” and
together with the Mutual Fund, the “Investment Funds”).

ii. The Mutual Fund reported its net asset value (“NAV”)
on a daily basis and allowed investors to redeem their
investments at any time based on that daily value. The Mutual
Fund also made regular filings with the SEC. The Hedge Fund
reported its NAV to investors on a monthly basis. Both the
Mutual Fund and the Hedge Fund also prepared annual audited
financial statements.

12. In investor disclosures and in the audited financial
statements for the Investment Funds, Infinity 9 represented that
it valued the positions held in the Investment Funds at “fair
value,” that is the price at which a buyer and seller would
agree to exchange the asset in an orderly market transaction on
the valuation date.

13. Infinity Q was compensated for its advisory services
in the form of management fees from both the Mutual Fund and the

Hedge Fund based on the assets under management, and Infinity ©

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also received performance-based fees from the Hedge Fund based
on net profits. As the majority owner of Infinity Q, JAMES
VELISSARIS, the defendant, earned tens of millions of dollars
from these management and performance fees during the relevant
period.

Infinity Q’s Investments in OTC Derivative Positions

14. At all relevant times to this Indictment, Infinity Q
pursued an investment strategy that involved trading in OTC
derivative positions. OTC derivative positions do not trade
over an exchange and are customized contracts between the
counterparties to the transaction. In particular, Infinity 0
traded in OTC derivative positions including volatility swaps,
variance swaps, corridor variance swaps, correlation swaps, and
other related instruments.

15. Volatility and variance swaps allow an investor to
take a position on the expected volatility, or price movement,
of an underlying asset over a particular period of time. A
volatility or variance swap that takes account of volatility
irrespective of the value of the underlying asset is often
referred to as a “plain vanilla.” A corridor variance swap
allows an investor to take a position on the expected volatility
of an underlying asset over a particular period of time, but
only taking into account volatility when the asset’s value fails

within a certain “corridor,” in other words, when the asset’s

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value is between agreed-upon lower and upper bounds.
Correlation swaps allow an investor to take a position on the
expected correlation, or the relationship, between the
volatility of multiple underlying assets.

16. Investment funds and financial institutions that trade
in these kinds of OTC derivative positions need to calculate the
fair value of their holdings in order to report their assets to
investors and other stakeholders. Prior to the settlement of
these OTC derivative positions, the positions are often valued
using models that take into account both the agreed upon terms
of the deal as well as certain assumptions based on anticipated
market conditions. The agreed upon terms of the deal typically
include, among other things, the notional amount of the swap,
the strike price which determines which party will have to pay,
the effective and expiry dates that set forth the relevant time
period for the swap, and in the case of a corridor variance
swap, the lower and upper bounds of the corridor. Typically,
these terms are set out in written agreements, including terms
sheets and confirmations, between the parties to the deal. The
relevant assumptions that are used to value the positions
include, in the case of volatility or variance swaps, the
implied volatility, or the amount of expected volatility of the
underlying asset for the remainder of the position, or in the

case of a correlation swap, the implied correlation. In most

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cases, these OTC derivative positions are also valued using an
annualization factor of 252, corresponding to the number of
trading days in a typical calendar year.

17. At the end of the time period set forth in an OTC
derivative position, the final realized value is calculated and
the position can be settled. The settlement process typically
includes calculating the final value of the position, with one
party paying the other based on that final value.

18. Infinity QO reguiarly touted itself to investors and
the investing public as an expert in these OTC derivative
positions, and that it could generate profit based on trading in
this area. In fact, by at least 2020, the Investment Funds each
held hundreds of millions of dollars of these OTC derivative
positions in their portfolios. Oftentimes, Infinity Q would
negotiate a particular OTC derivative position with a
counterparty (usually a large financial institution) and
allocate a portion of that position to the Mutual Fund and a
portion of the position to the Hedge Fund.

Infinity Q Told Investors and Others that It

Calculated the Fair Value of OTC Derivative
Positions Using an Independent Third-Party Process

49, In order to calculate their NAV, both the Mutual Fund
and the Hedge Fund needed to calculate the present fair value of
their OTC derivative positions at day and month end,

respectively. In materials and communications exchanged with

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investors and other stakeholders, Infinity 0 repeatedly
represented that it calculated the present fair value of the
Investment Funds’ OTC derivative positions using an independent,
third-party provider. In particular, Infinity Q represented
that it used the Bloomberg Valuation Service, also known as
“BVAL,” to independently value these positions. BVAL is a
service offered by the international financial services company
Bloomberg L.P. that allows users to model many types of
financial products, including the types of OTC derivative
positions held by the Investment Funds.

20. BVAL allows a user to model OTC derivative positions
by (a) choosing a template that is appropriate for that
position, (b) inputting into the template the reievant
parameters for the position (such as the notional amount and
strike price), (c) applying the necessary market assumptions to
value a particular position (such as the implied volatility for
a volatility swap), and (d} running a code-based program on
those inputs in order to determine a fair market value. The
version of BVAL that Infinity Q used employed a service called
“Golden Copy” that allowed the user, in this case Infinity Q, to
choose from among various options for the necessary market
assumptions that a model would use based on particular market

snapshots, such as time and location.

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21. Some of BVAL’s templates allowed users to access and
edit the underlying code that was used to value the positions
(“Custom Scripts”) while some of the templates were locked and
did not. Importantly, both types of BVAL models relied upon the
user entering the terms of a deal accurately in order to
generate valuation. Accordingly, BVAL’s Custom Scripts provided
a warning to the user that “Clients must make sure that the
input parameters entered into the script faithfully represent
the term sheet that they would like to price.”

22. At all times relevant to this Indictment, Infinity Q
had a subscription to use BVAL, including Golden Copy, in order
to value the Investment Funds’ OTC derivative positions. As
chief investment officer, JAMES VELISSARIS, the defendant, was
responsible for valuing the Investment Funds’ positions,
including entering those positions into BVAL for valuation.
While a number of Infinity Q’s employees had access to view the
values of Infinity Q’s holdings in BVAL, VELISSARIS was the only
Infinity @ employee with permission to input or edit the
positions and the templates within Infinity Q’s BVAL portfolio.

23. Infinity Q regularly represented to its investors and
the investing public as well as the Administrator and the
Auditor that Infinity Q utilized BVAL to value OTC derivative
positions, rather than valuing the positions itself, in order to

maintain an independent process for valuing OTC derivative

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positions. For example, on multiple occasions, Infinity Q told
a firm engaged to assist an institutional pension fund investor
with performing due diligence on Infinity Q (the “Investor
Diligence Firm’), in substance, that ali OTC derivative
positions in the Hedge Fund were valued using BVAL, independent
of Infinity 9. Infinity Q explained to the Investor Diligence
Firm that, when trades are completed, Infinity 9 sends BVAL the
details and BVAL models the securities independent of Infinity
Q.

24. By way of further example, when Infinity Q began using
BVAL in or about 2016, JAMES VELISSARIS, the defendant,
explained to the Administrator that “[w]le started working with
BVAL in the spring as an independent valuation for our OTC
derivatives. . . . We intentionally removed ourselves from the
valuation of these securities to allow BVAL to remain
independent.” Similarly, in or about December 2020, JAMES
VESLISSARIS, the defendant, represented to the Auditor that
“[Infinity Q] uses one of Bloomberg’s services calied Bloomberg
Valuation Service (“BVAL”) to value ali swap contracts
BVAL is a subscription-paid service that provides independent
and transparent pricing of OTC derivatives across all asset
classes.” With respect to volatility and variance swaps,
VELISSARIS explained that “{Infinity Q does] not provide any

unobservable inputs (ex: implied volatility) to BVAL. Implied

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volatility (or implied correlation} quotes are contributed to
Golden Copy market data by multiple major banks and brokers.”
With respect to correlation swaps, VELISSARIS explained that
“(w]lith the exception of implied correlation, ali other inputs
(start date, maturity date, strike %, vega notional, etc.) for
the valuation of correlation swaps come directly from the term
sheet with the counterparty.”

VELISSARIS’ Scheme to Defraud

25. From at least in or about 2018 through at least in or
about February 2021, JAMES VELISSARIS, the defendant, engaged in
a scheme to defraud current and prospective investors in the
Investment Funds by making false and misleading statements to
investors and other stakeholders concerning Infinity Q’s process
for valuing OTC derivative positions and by mismarking those
securities in ways that did not reflect their fair value, in
order to artificially inflate their values and thereby inflate
the NAV of both the Mutual Fund and the Hedge Fund.

26. The scheme carried out by JAMES VELISSARIS, the
defendant, was fraudulent in at least two ways. First,
VELISSARIS’ process for valuing Infinity Q’s OTC derivative
positions was inconsistent with his representations concerning
the independence of the process for valuing those positions. In
truth and in fact, VELISSARIS had substantial input into the

modeling of the securities by altering the BVAL modeis

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themselves and by inputting terms into the model that differed
from term sheets with counterparties, thereby undermining the
independence of BVAL. While VELISSARIS’ use of BVAL
legitimately required him to enter the terms of OTC derivative
positions into BVAL’s models, his repeated aiteration of those
models and his inputting of terms that did not accurately
reflect the terms of the underlying OTC positions negated the
purported independence of BVAL and its valuation process. As
further described below, these alterations included changes in
the computer code that comprised the BVAL models that Infinity 0
used.

27. Furthermore, as part of his scheme to defraud, JAMES
VELISSARIS, the defendant, routinely mismarked OTC derivative
positions in ways that did not reflect their fair value. As the
sole Infinity Q employee with access to input and edit positions
and templates in BVAL, VELISSARIS frequently and improperly
altered various parameters of OTC derivative positions in order
to inflate their values in BVAL. These included causing BVAL to
improperly consider and calculate certain terms of OTC
derivative positions held by Infinity 0 including, among other
things, corridors for corridor variance swaps, the strike prices
for numerous swap positions, the annualization factors for
numerous swap positions, and the effective dates of numerous

swap positions. Altering each of these parameters could falsely

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inflate the value of the Investment Funds’ holdings by
increasing the value that BVAL would generate.

28. For example, in a corridor variance swap, volatility
is only realized when the value of the underlying asset is
within a particular range or “corridor.” In calculating the
present vaiue of such a position, BVAL's model was supposed to
take into account, among other things, the risk that the asset
would move outside of the corridor and not accrue volatility if
and when it did so. By instead programming BVAL’s models in
such a way that they ignored and/or expanded the corridor, JAMES
VELISSARIS, the defendant, ensured that the model did not
appropriately account for the risk that the asset would move
outside the corridor and caused the program to accrue volatility
even when the asset did in fact move outside the corridor. This
had the effect of causing the BVAL model to compute a greater
value than it would have had it been properly programmed to
include the corridor. VELISSARIS made numerous such
manipulations where the Investment Funds were “long” the
corridor variance swap, in other words where the Investment
Funds would benefit from the increased value generated by the
higher volatility. By contrast, VELISSARIS typically left the
corridors in the BVAL models where the Investment Funds were

“short” a corridor variance swap, in other words where the

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Investment Funds would benefit from less volatility in the
position.

29. JAMES VELISSARIS, the defendant, effectuated these
manipulations in BVAL models through numerous means and methods.
One of the ways that VELISSARIS was able to manipulate the
modeling of corridor variance swaps within BVAL was by changing
an “and” within BVAL’s Custom Scripts to an “or,” such that
rather than effectuating a command that, in order to realize
volatility, the asset’s price needed to be both above a certain
lower barrier and below a certain upper barrier (i.e., within
the corridor), the asset only needed to be above a certain lower
barrier or below a certain upper barrier, a condition which is,
by definition, always true. VELISSARIS also manually altered
other aspects of BVAL’s Custom Scripts to effectuate the above-—
described manipulations, including adding or subtracting numbers
from the agreed-upon corridors within BVAL’s code, using
annualization factor numbers that were different than the 252
number stated in the term sheet, and altering the agreed-upon

strike price of the position.

30. JAMES VELISSARIS, the defendant, knew that
implementing these forms of manipulation, including ignoring the
corridors on corridor variance swaps, would cause BVAL to model

the positions in ways that were inconsistent with the true terms

of the deal, would improperly inflate their values, and was

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inconsistent with the purported independence of BVAL’s
processes. For example, in or about April 2020, VELISSARIS and
cC+-1 were discussing Infinity Q’s internal risk modeling.

Wholly apart from valuation functions which were handled solely
by VELISSARIS, Infinity Q kept track of its positions internally
for risk assessment. During that conversation, VELISSARIS noted
that, in its risk models, one of Infinity Q’s junior analysts
had “modeled all corridor varfiance swaps] as [plain] vanilla
var[iance] swaps” which, according to VELISSARIS “throws
everything off.” Furthermore, Infinity Q’s own internal risk

analyses, which were reviewed by VELISSARIS, sometimes showed

that for corridor variance swap positions where VELISSARIS

caused BVAL to ignore a corridor for purposes of valuation, the

underlying asset had a substantial likelihood of being outside
the corridor.

31. in addition, JAMES VELISSARIS, the defendant, falsely
inflated the value of the Investment Funds’ OTC derivative
positions by selecting market assumptions that the BVAL model
employed, including the implied volatility, that were designed
to falsely inflate the value of the positions. As explained
above, BVAL employed assumptions about certain unobservable
inputs through its Golden Copy program (for example implied
volatility or implied correlation), and users like VELISSARIS

could select from a list of options to be used as inputs for

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those assumptions. In some instances, VELISSARIS selected
implied volatility options that were not intendea to achieve
fair value, but rather, for the sole purpose of inflating the
value of a position in BVAL.

32. As a result of the above-described manipulations
within BVAL, JAMES VELISSARIS, the defendant, caused numerous
positions in the Investment Funds to have anomalous and, at
times, impossible valuations. For example, at times, VELISSARIS
made manipulations in either the Mutual Fund and/or the Hedge
Fund that caused certain identical positions that were held by
both the Mutual Fund and the Hedge Fund (namely, positions with
the same material terms, including start date, end date, type of
swap, underlying asset, notional amount, and strike price) to
have substantially divergent values. By way of further example,
some of VELISSARIS’ manipulations caused certain positions held
by the Investment Funds to have impossible values, such as where
under the true terms of the swap, the value adopted by
VELISSARIS could only be true if volatility were negative — a

condition which is mathematically impossible.

33. While JAMES VELISSARIS, the defendant, began making
these manipulations as early as 2018, he substantially increased

his mismarking in the spring of 2020 as markets were impacted by

the outbreak of the COVID-19 pandemic. As VELISSARIS and others

at Infinity Q regularly discussed, a number of Infinity 0’s

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competitors were forced out of business due to the pandemic and
Infinity 9 had substantial financial problems. For example, in
or about March 2020, VELISSARIS and CC-1 discussed getting a
loan to keep Infinity Q afloat, with CC-1 noting, “we have to
save the mutual fund.” From that point forward, VELISSARIS’
manipulations were crucial to the financial position of both the
Mutual Fund and the Hedge Fund, including supporting their
artificial valuations to investors and the public, and thereby
attracting new investors. Meanwhile, by touting the success o£
Infinity Q during this time period, VELISSARIS was able to
attract substantial inflows to the Investment Funds.

34. In or about February 2021, after the mismarkings by

JAMES VELISSARIS, the defendant, were uncovered, Infinity Q

liquidated the Investment Funds and sold its OTC derivative

positions. These positions were sold for hundreds of millions

of dollars less than their purported market values in BVAL and
investors in the Investment Funds sustained substantial losses.

VELISSARIS Lies to Others in Order
to Hide his Manipulations

35. In order to conceal his mismarking scheme, JAMES
VELISSARIS, the defendant, regularly lied, and caused other
Infinity Q employees to lie about the nature of Infinity Q's
valuation of OTC derivatives. For example, as set forth above,

VELISSARIS and others at Infinity Q often represented to

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investors, the public, the Administrator, and the Auditor that
BVAL was providing independent, third-party valuations for OTC
derivative positions, when in fact, VELISSARIS had substantial
input into the modeling of those positions, including through
entering deal parameters, selecting options for model
assumptions, and altering code within BVAL’s Custom Scripts, and
often modeled positions in ways that were inconsistent with the
true terms of an OTC derivative position.

36. Furthermore, on a number of occasions, JAMES
VELISSARIS, the defendant, fabricated documents that were
submitted to the Auditer in order to prevent the Auditor from
uncovering his mismarking scheme in connection with both the
Mutual Fund and the Hedge Fund. For example, as part of the
audit of the Mutual Fund for the fiscal year ending August 31,
2020, the Auditor hired a specialist to perform an analysis on
certain OTC derivative positions, including a corridor variance
swap held by the Mutual Fund which Infinity 9 had valued at
approximately $22 million (“Position-1”). In connection with
that audit, in or about September 2020, VELISSARIS fraudulently
altered a term sheet to provide to the Auditor wherein
VELISSARIS lowered the terms sheet’s actual lower bound of the
swap’s corridor so that the Auditor’s valuation calculation
would line up with BVAL’s calculation. Using the false

information that VELISSARIS had provided, the Auditor concluded

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that Infinity Q’s valuation of Position~-1 was reasonable. But
within months, and using the terms from the actual term sheet
instead of the altered term sheet that VELISSARIS had provided
to the Auditor, Position-1 expired with a settlement value
approximately 80 percent lower than Infinity 9 had earlier
represented.

37. Similarly, as part of the audit of the Hedge Fund for
the fiscal year ending December 31, 2020, the Auditor hired the
game specialist to perform an analysis on certain OTC derivative
positions, including a corridor variance swap held by the Hedge
Fund which Infinity 9 had valued at approximately $13 million
(“Position-2"%). In fact, however, VELISSARIS had programmed a
Customized Script in BVAL to ignore the lower bound of the
corridor for Position-2, thereby contributing to an inflated
value. In order to justify the inflated value that VELISSARIS
had caused BVAL to produce by ignoring the corridor, in or about
February 2021, VELLISARIS created an altered version of the
trade confirmation for Position-2 wherein he fraudulently
altered the lower bound of the corridor by a substantial amount.
VELISSARIS provided that falsified document to the Auditor in
order to cause the Auditor to justify Infinity 0’s valuation of
the position. However, that audit was not completed because
Infinity 0’s operations were suspended as VELISSARIS’ scheme

came to light in February 2021.

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VELISSARIS and CC-1 Obstruct the SEC’s
Investigation into Infinity Q’s Valuation

38. In or about May 2020, the SEC opened an inquiry into
the valuation practices at Infinity 0, which later in 2020
ripened into a formal investigation. From at least in or about
May 2020 through at least in or about February 2021, JAMES
VELISSARIS, the defendant, and CC-1l, engaged in conduct that was
intended to obstruct the SEC’s inquiry and investigation, and to
provide false and misleading information to the SEC.

39. In or about May 2020, in connection with its inquiry,
the SEC requested that Infinity Q provide various investor
materials. The SEC’s request called for “the original
Documents” that were responsive to its various requests.
However, rather than provide the original investor materials
that had been shared with investors, JAMES VELISSARIS, the
defendant, and CC-1, altered significant portions of Infinity
O's materials, in particular materials addressing Infinity Q's
valuation practices and policies, before providing them to the
SEC. For example, Infinity Q's original investor materials
stated that “[a]lt each month end, valuations are compared to the
values provided by counterparties for reasonableness.” In fact,
however, as VELISSARIS well knew, counterparty values for OTC
derivative positions often differed significantly from Infinity

Q's values. This was especially true beginning in or about

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March 2020 as the COVID-19 pandemic had a substantial effect on
the market and many of Infinity Q's counterparties were valuing
their OTC derivative positions at substantially different vaiues
than Infinity @. VELISSARIS and CC-1 removed this line from
documents that were provided to the SEC.

40. Similarly, Infinity Q’s original investor materials
stated that “[o]nce a price is established for a portfolio
security, it shall be used for all Funds that hold the
security.” As set forth above, this was untrue and on numerous
occasions, manipulations in BVAL made by JAMES VELISSARIS, the
defendant, caused the same positions in the Mutual Fund and the
Hedge Fund to have substantially different values. To conceal
the falsity of Infinity Q’s disclosures, VELISSARIS and CC-1
removed this line from investor documents that were provided to
the SEC,

41. In or about June 2020, the SEC requested that Infinity
Q provide additional materials, including documents regarding
Infinity Q’s valuation committee and all of that committee’s
meeting minutes. Infinity Q's investor materials had
represented that Infinity Q had a valuation committee, including
that JAMES VELISSARIS, the defendant, and CC-1, were members of
that committee, that the committee met monthly or more often if
needed, and that VELISSARIS was responsible for preparing

minutes of such meetings to reflect what occurred. In fact,

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however, VELISSARIS had not kept notes of any such meetings.
Accordingly, days before responding to the SEC, VELISSARIS made
up notes purporting to be taken during or shortly after
valuation committee meetings in 2019 and 2020 and submitted them
to the SEC.

42. In or about February 2021, the SEC was able to gain
access to Infinity Q’s BVAL portfolio and, for the first time,
observed some of the above-described alterations that JAMES.
VELISSARIS, the defendant, had made to Infinity Q’s portfolio in
BVAL. When others at Infinity @Q and the board of the Mutual
Fund became aware of this conduct, redemptions in the Mutual
Fund were suspended and the Hedge Fund ceased operations. Both
the Mutual Fund and the Hedge Fund were subsequently liquidated,
and Infinity Q's OTC derivative positions were sold for
substantially less than the inflated values at which they had
been marked by Infinity QQ.

Statutory Allegation

43. From at least in or about 2018 through at least in or
about February 2021, in the Southern District of New York and
elsewhere, JAMES VELISSARIS, the defendant, willfully and
knowingly, directly and indirectly, by use of the means and
instrumentalities of interstate commerce, and of the mails and
of the facilities of national securities exchanges, used and

employed, in connection with the purchase and sale of

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securities, manipulative and deceptive devices and contrivances,
in violation of Title 17, Code of Federal Reguiations, Section
240.10b-5, by: (a) employing devices, schemes, and artifices to
defraud; (b) engaging in acts, practices, and courses of
business which operated and would operate as a fraud and deceit
upon persons; and (c) making untrue statements of material fact
and omitting to state material facts necessary in order to make
the statements made, in the light of the circumstances under
which they were made, not misleading, to wit, VELISSARIS made
fraudulent misrepresentations to others, including investors in
the Investment Funds, concerning the process by which the
Investment Funds’ OTC derivative positions were marked at fair
value, and VELISSARIS mismarked the value of OTC derivative
positions held by the Investment funds in order to fraudulently

inflate their value.

(Title 15, United States Code, Sections 78] (b) & 78ff;
Title 17, Code of Federal Regulations, Section 240.10b-5; and
Title 18, United States Code, Section 2.}

COUNT TWO
(Investment Adviser Fraud)

The Grand Jury further charges:
44, The allegations contained in paragraphs 1 through 42 of

this Indictment are repeated and realleged as if fully set forth

herein.

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45. From at least in or about 2018 through at least in or
about February 2021, in the Southern District of New York and
elsewhere, JAMES VELISSARIS, the defendant, wilifully and
knowingly, acting as an investment advisor with respect to
Infinity @ clients, by use of the mails and instrumentealities of
interstate commerce, directly and indirectly, did (a) employ a
device, scheme, and artifice to defraud clients and prospective
clients; (b) engage in a transaction, practice, and course of
business which operated as a fraud and deceit upon clients and
prospective clients; and (c} engage in an act, practice, and
course of business which was fraudulent, deceptive, and
manipulative, to wit, VELISSARIS made fraudulent
misrepresentations to others, including investors in the
Investment Funds, concerning the process by which the Investment
Funds’ OTC derivative positions were marked at fair value, and
VELISSARIS mismarked the value of OTC derivative positions held
by the Investment Funds in order to fraudulently inflate their

value.

(Title 15, United States Code, Sections 80b-6 and 80b-17; and
Title 18, United States Code, Section 2.)

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COUNT THREE
(Wire Fraud)

The Grand Jury further charges:

46. The allegations contained in paragraphs 1 through 42 of
this Indictment are repeated and realleged as if fully set forth
herein.

47. From at least in or about 2018 through at least in or
about February 2021, in the Southern District of New York and
elsewhere, JAMES VELISSARIS, the defendant, willfully and
knowingly, having devised and intending to devise a scheme and
artifice to defraud, and for obtaining money and property by means
of false and fraudulent pretenses, representations, and promises,
transmitted and caused to be transmitted by means of wire, radio,
and television communication in interstate and foreign commerce,
writings, signs, signals, pictures, and sounds for the purpose of
executing such scheme and artifice, to wit, VELISSARIS made
fraudulent misrepresentations to others, including investors in
the Investment Funds, concerning the process by which the
Investment Funds’ OTC derivative positions were marked at fair
value, and VELISSARIS mismarked the value of OTC derivative
positions held by the Investment Funds, including through the use
of email and chat communications to and from the Southern District
of New York, in order to fraudulently inflate their value.

(Title 18, United States Code, Sections 1343 and 2.)

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COUNT FOUR
(False Statements to an Accountant)

The Grand Jury further charges:

48. The allegations contained in paragraphs 1 through 42 of
this Indictment are repeated and realleged as if fully set forth
herein.

49. From at least in or about August 2020 through at least
in or about February 2021, in the Southern District of New York
and elsewhere, JAMES VELISSARIS, the defendant, willfully and
knowingly, being an officer and director of an investment adviser
of an investment company registered under section 8 of the
investment Company Act of 1940 (15 U.S.C. 80a-8), did make and
cause to be made materially false and misieading statements to an
accountant, and did omit and caused others to omit to state,
material facts necessary in order to make statements made, in light
of the circumstances under which such statements were made, not
misleading, to an accountant in connection with an audit, review,
and examination of the financial statements of the investment
company required to be made pursuant to SEC regulations, and took
actions to coerce, manipulate, mislead, and fraudulently influence
independent public and certified public accountants engaged in the
performance of an audit and review of the financial statements of
that investment company that were required to be filed with the

SEC, knowing that such action, if successful, could result in

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rendering the investment company's financial statements materially
misleading, to wit, in or about September 2020, in connection with
the Auditor’s audit of the Mutual Fund, VELISSARIS, falsely
submitted and caused to be submitted to the Auditor a fraudulently
altered term sheet wherein he changed the lower bound of a corridor
in order to deceive the Auditor into confirming the reasonableness
of Infinity Q’s valuation of that position.

(Title 15, United States Code, Sections 78ff, 80a-29, 7202;

Title 17, Code of Federal Regulations, Section 240.13b2-2;

and Title 18, United States Code, Section 2.)

COUNT FIVE
(Conspiracy to Obstruct an SEC Investigation)

The Grand Jury further charges:

50, The allegations contained in paragraphs 1 through 42 of
this Indictment are repeated and realleged as if fully set forth
herein.

51. From at least in or about May 2020 through at least in
or about February 2021, in the Southern District of New York and
elsewhere, JAMES VELISSARTS, the defendant, CC-1, and others known
and unknown, willfully and knowingly did combine, conspire,
confederate and agree together and with each other to commit
offenses against the United States, to wit, to make false
statements and writings, in violation of Title 18, United States
Code, Section 1001; and to obstruct a federal investigation, in

violation of Title 18, United States Code, Section 151%.

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52. It was a part and an object of the conspiracy that JAMES
VELISSARIS, the defendant, CC-1, and others known and unknown, in
a matter within the jurisdiction of the executive branch of the
Government of the United States, to wit, an investigation by the
SEC, knowingly and willfully would and did (1) falsify, conceal,
and cover up by tricks, schemes, and devices a material fact; (2)
make materially false, fictitious, and fraudulent statements and
representations; and (3) make and use false writings and documents
knowing the same to contain materially false, fictitious, and
fraudulent statements and entries, in violation of Title 18, United
States Code, section 1001.

53. It was further a part and an object of the conspiracy
that JAMES VELISSARIS, the defendant, CC-1, and others known and
unknown, would and did knowingly alter, destroy, mutilate,
conceal, cover up, falsify, and make false entries in records,
documents, and tangible objects with the intent to impede,
obstruct, and influence the investigation and proper
administration of any matter within the Jurisdiction of any
department and agency of the United States, to wit, an
investigation by the SEC, in violation of Title 18, United States
Code, Section 1519.

54. In furtherance of the conspiracy and to effect the
illegal objects thereof, the following overt acts, among others,

were committed in the Southern District of New York and elsewhere:

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a. On or about May 21, 2020, JAMES VELISSARIS, the
defendant, created updated versions of Infinity 0’s valuation
policy that purported to be effective December 6, 2018, for
submission to the SEC in response to the SEC’s May 13, 2020,
request for documents, including original valuation policies.

b. On or about June 29, 2020, VELISSARIS created
notes of valuation committee meeting minutes purporting to
document meetings that had taken place in 2019 and 2020, for
submission to the SEC in response to the SEC’s June 23, 2020,
request for documents, including minutes of valuation committee
meetings.

(Title 18, United States Code, Section 371.)

COUNT SIX
(Obstruction of an SEC Investigation)

The Grand Jury further charges:

55. The allegations contained in paragraphs 1 through 42 and
paragraph 54 of this Indictment are repeated and realleged as if
fully set forth herein.

56. From at least in or about May 2020 through at least in
or about February 2021, in the Southern District of New York and
elsewhere, JAMES VELISSARIS, the defendant, did knowingly alter,
destroy, mutilate, conceal, cover up, falsify, and make false
entries in records, documents, and tangible objects with the intent

to impede, obstruct, and influence the investigation and proper

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administration of any matter within the jurisdiction of any
department and agency of the United States, to wit, VELISSARIS
obstructed the SEC's inguiry and investigation into Infinity Q by
altering and fabricating policy documents and committee meeting
minutes submitted to the SFC in response to the SEC’s requests for
documents.

(Title 18, United States Code, Sections 1519 and 2.)

FORFEITURE ALLEGATION

57. As a result of committing one or more of the offenses
charged in Counts One through Three of this Indictment, JAMES
VELISSARIS, the defendant, shall forfeit to the United States,
pursuant to Title 18, United States Code, Section 981 (a) (1) (C}
and Titie 28, United States Code, Section 2461, all property,
real and personal, that constitutes or is derived from proceeds
traceable to the commission of said offenses, including but not
limited to a sum of money in United States currency representing
the amount of proceeds traceable to the commission of said
offenses that the defendant personally obtained.

Substitute Assets Provision

58. If any of the above-described forfeitable property, as
a result of any act or omission by either of the defendant:

a. cannot be located upon the exercise of due

diligence;

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b. has been transferred or sold to, or deposited with,

Cc. has been placed beyond the ‘jurisdiction of the
court;

d. has been substantially diminished in value; or

e. has been commingled with other property which

cannot be divided without difficulty;

it is the intent of the United States, pursuant to Title 21, United
States Code, Section 853(p), and Title 28, United States Code
Section 2461, to seek forfeiture of any other property of the

defendant up to the value of the forfeitable property described

above.
(Title 18, United States Code, Section 981 (a) (1) (C);
Title 21, United States Code, Section 853(p);
Title 28, United States Code, Section 2461.)
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GRAND JURY FORE PERSON DPAMIAN WILLIAMS

United States Attorney

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Form No. USA-33s-274 (Bd. 9-25-58)

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA

- VW. -

JAMES VELISSARIS,

Defendant.

SEALED INDICTMENT

22 Cr.

{Title 15, United States Code, Sections
787 (b), 78f£f, 80a-29, 80b-6, 806-17, 7202;
Title 17, Code of Federal Regulations,
Sections 240.10b-5, 240.13b2-2; Title 18,
United States Code, Sections 2, 371, 1343,

and 1519.)
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Daca, orn DAMIAN WILLIAMS
Foreperson United States
Attorney
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